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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                              CR 14-96-GF-BMM
                                                       CV 16-31-GF-BMM
             Plaintiff/Respondent,

      vs.                                     ORDER DENYING § 2255 MOTION
                                              AND DENYING CERTIFICATE OF
JOSHUA ALBERTO RODRIGUEZ,                           APPEALABILITY

             Defendant/Movant.


      This case comes before the Court on Defendant/Movant Rodriguez’s motion

to vacate, set aside, or correct the sentence under 28 U.S.C. § 2255. Rodriguez is a

federal prisoner proceeding pro se.

                               I. Preliminary Review

      The motion is subject to preliminary review before the United States is

required to respond. The Court must determine whether “the motion and the files

and records of the case conclusively show that the prisoner is entitled to no relief.”

28 U.S.C. § 2255(b); see also Rule 4(b), Rules Governing Section 2255

Proceedings for the United States District Courts.

      A petitioner “who is able to state facts showing a real possibility of

constitutional error should survive Rule 4 review.” Calderon v. United States Dist.

Court, 98 F.3d 1102, 1109 (9th Cir. 1996) (“Nicolas”) (Schroeder, C.J.,

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concurring) (referring to Rules Governing § 2254 Cases). It reamins the duty of

the Court “to screen out frivolous applications and eliminate the burden that would

be placed on the respondent by ordering an unnecessary answer.” Advisory

Committee Note (1976), Rule 4, Rules Governing § 2254 Cases, cited in Advisory

Committee Note (1976), Rule 4, Rules Governing § 2255 Proceedings.

                                  II. Background

      Rodriguez was charged with 19 other defendants in a 24-count indictment

alleging crimes involving drugs, firearms, and money laundering. Rodriguez was

charged with conspiracy to possess with intent to distribute, and to distribute, at

least 500 grams of a substance containing methamphetamine, a violation of 21

U.S.C. §§ 846 and 841(a)(1) (Count 1); possession of at least 50 grams or more of

actual methamphetamine with intent to distribute it, a violation of 21 U.S.C. §

841(a)(1) and 18 U.S.C. § 2 (Count 5); conspiracy to possess firearms in

furtherance of federal drug trafficking crimes alleged in Counts 1 through 13, a

violation of 18 U.S.C. § 924(c) and (o) (Count 14); possession of multiple firearms

in furtherance of the drug trafficking crimes alleged in Counts 1 and 5, a violation

of 18 U.S.C. §§ 2 and 924(c)(1)(A) (Count 20); and conspiracy to launder money,

a violation of 18 U.S.C. § 1956(a)(1)(A)(i) (Count 23). Indictment (Doc. 26). If

convicted of all counts, Rodriguez faced a mandatory minimum sentence of ten

years in prison and a maximum sentence of life in prison. CJA counsel Palmer

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Hoovestal was appointed to represent Rodriguez. Order (Doc. 13).

      On February 10, 2015, Rodriguez pled guilty to Counts 1, 14, and 23—that

is, the three conspiracy counts—and admitted the forfeiture counts. At the change

of plea hearing, Rodriguez agreed the United States could introduce evidence to

support its offer of proof. See Change of Plea Tr. (Doc. 778) at 37:15-45:5; Offer

of Proof (Doc. 427) at 8-12.

      A presentence report was prepared. Rodriguez was held responsible for the

equivalent of 30,000 to 90,000 kilograms of marijuana, for a base offense level of

36. He received two two-point enhancements for possession of a firearm and for

his money-laundering conviction. He received a four-point enhancement because

he was an organizer or leader in the conspiracy. He received a three-level

reduction for acceptance of responsibility. His total adjusted offense level was 41.

Presentence Report ¶¶ 66-76. With a criminal history category of II, his advisory

guideline range was 360 months to life. Presentence Report ¶¶ 81, 106.

      On May 7, 2015, Hoovestal moved to withdraw as counsel due to an

irretrievable breakdown in his ability to communicate with Rodriguez. The Court

granted the motion and appointed Kathleen DeSoto in Hoovestal’s stead. Mot. to

Withdraw (Doc. 675); Orders (Docs. 677, 689).

      To avoid sentencing disparities with Rodriguez’s co-defendants, the Court

granted the United States’ motion to vary downward two levels to negate the

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money laundering enhancement. See Sentencing Tr. (Doc. 779) at 5:24-6:7; Plea

Agreement (Doc. 428) at 23 ¶ 6 para. 2. The Court also varied downward to reach

a reasonable sentence. Statement of Reasons (Doc. 761) at 3 ¶¶ VI(C), (D).

Rodriguez was sentenced to a total term of 270 months in prison, to be followed by

five years’ supervised release. Judgment (Doc. 760) at 2-3; Minutes (Doc. 759).

         Rodriguez appealed. His conviction was affirmed and his appeal as to his

sentence was dismissed as waived by the plea agreement. Memorandum (Doc.

814) at 2, United States v. Rodriguez, No. 15-30185 (9th Cir. Apr. 1, 2016); Plea

Agreement at 24 ¶ 8.

         Rodriguez timely filed his § 2255 motion on March 25, 2016. 28 U.S.C. §

2255(f)(1); Houston v. Lack, 487 U.S. 266, 270-71 (1988); Mot. § 2255 (Doc. 815)

at 13.

                              III. Claims and Analysis

         All of Rodriguez’s claims relate to his sentence. He contends counsel

provided ineffective assistance because she failed to challenge the leader/organizer

role enhancement, as well as the two-point enhancement for possession of a

firearm. He also claims that the Court should have asserted a violation of his rights

under the Confrontation Clause. He asks the Court to apply retroactively a recent

amendment to U.S.S.G. § 3B1.2. Rodriguez’s claims are reorganized here, but all

are addressed.

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         Claims of ineffective assistance of counsel are governed by Strickland v.

Washington, 466 U.S. 668 (1984). At this stage of the proceedings, Rodriguez

must allege facts sufficient to support an inference (1) that counsel’s performance

fell below an objective standard of reasonableness, id. at 687-88, and (2) that there

is “a reasonable probability that, but for counsel’s unprofessional errors, the result

of the proceeding would have been different,” id. at 694. “[T]here is no reason . . .

to address both components of the inquiry if the defendant makes an insufficient

showing on one.” Id. at 697.

         A. Evidence vs. Elements

         A threshold issue should be addressed first. Throughout his motion and

memorandum, Rodriguez argues that the Supreme Court’s decisions in Johnson v.

United States, __ U.S. __, 135 S. Ct. 2551 (2015), and Alleyne v. United States, __

U.S. __, 133 S. Ct. 2151 (2013), prioritize evidence over elements and have some

bearing on his case. See, e.g., Mot. § 2255 (Doc. 815) at 5 Ground Two; Mem. in

Supp. (Doc. 16) at 7, 16.

         Neither assertion proves correct. The elements of any offense must be

established by evidence. Elements and evidence stand inseparable. To the extent

Rodriguez believes Johnson or Alleyne say otherwise, he misunderstands those

cases.

         Neither Johnson nor Alleyne address issues presented in Rodriguez’s case.

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Rodriguez’s sentence did not depend on whether a previous conviction could

properly be characterized as a “violent felony” or “crime of violence.” See, e.g.,

Johnson, 135 S. Ct. at 2555-57. Alleyne held that “any fact that increases the

mandatory minimum [sentence] is an ‘element.’” See Alleyne, 133 S. Ct. at 2155.

Rodriguez’s mandatory minimum sentence was set by the drug quantity for which

he was responsible. See 21 U.S.C. § 841(b)(1)(A) & (viii).

      Rodriguez admitted at the time that he entered his guilty plea that he was

responsible for 50 or more grams of pure methamphetamine, or 500 grams or more

of a substance containing methamphetamine. See Change of Plea Tr. (Doc. 778) at

44:23-45:5. The decisions made at sentencing “affected neither the statutory

maximum sentence nor any mandatory minimum sentence; thus, neither Apprendi

nor Alleyne v. United States is implicated.” United States v. Vallejos, 742 F.3d

902, 906-07 (9th Cir. 2014) (citing Alleyne, 133 S. Ct. at 2163, and Apprendi v.

New Jersey, 530 U.S. 466, 490 (2000)).

      The Court declines to consider claims relating to or purporting to rely on

Johnson or Alleyne or a purported emphasis on evidence over elements.

      B. Confrontation Clause

      Rodriguez contends that counsel should have “moved to suppress” hearsay

statements at sentencing. See, e.g., Mot. § 2255 at 4 Ground One, 8 Ground Four;

Mem. at 9, 28.

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      The Federal Rules of Evidence do not apply at sentencing, Fed. R. Evid.

1101(d)(3), and, in formulating the sentence, courts may consider a wide range of

information without violating due process, see Williams v. New York, 337 U.S.

241, 244-47, 252 (1949). It is possible that hearsay might not provide sufficient

support for an enhancement, see, e.g., United States v. Reyes-Oseguera, 106 F.3d

1481, 1484 (9th Cir. 1997), but hearsay is not prohibited. On the other hand, a

defendant has a right not to be sentenced on materially incorrect information, and

hearsay must be accompanied by some indicia of reliability. See United States v.

Littlesun, 444 F.3d 1196, 1198-1201 (9th Cir. 2006); United States v. Petty, 982

F.2d 1365, 1369 (9th Cir. 1993).

      Rodriguez claims that counsel failed to move to exclude “statements

presented as formal testimony” on the grounds that “there existed no support or

substantiation for such co-defendant, co-conspirator, or confidential informant

statements” as were relayed by the detective. Mem. (Doc. 816) at 9. Even were

the Confrontation Clause to apply, co-conspirator or confidential-informant

statements need not be substantiated by other evidence. These statements simply

must be given in person and under oath, subject to cross-examination. When such

statements are permissibly used as hearsay at sentencing, as noted, they must be

accompanied by some other evidence tending to show they are reliable.

      Rodriguez entered a guilty plea. The only formal testimony to which he

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could be referring is Detective Gange’s testimony at sentencing. Gange did not

directly report what other people said about Rodriguez. Gange discussed other

kinds of evidence: traffic stops of vehicles rented by Rodriguez, but occupied by

others; Rodriguez’s fronting of methamphetamine to various sellers; Rodriguez’s

retention of most of the profit and directions to others to deposit money in his

Wells Fargo account; Rodriguez’s eventual “protection” by Ocegueda-Ruiz, and

his direction to Martin Leland, an otherwise highly-placed member of the

conspiracy, as well as other persons, to purchase firearms for Rodriguez and other

members of the conspiracy who were not able to purchase firearms themselves.

See generally Sentencing Tr. (Doc. 779) at 8:6-23:22; see also Presentence Report

¶¶ 15-60; Offer of Proof (Doc. 427) at 8-12 & n.1.

      No Confrontation Clause violation or due process violation occurred under

the circumstances here. Rodriguez does not allege that the information supporting

his sentence was materially incorrect; he merely claims that counsel should have

challenged its reliability. Any objection counsel might have made likely would

have been overruled. Rodriguez’s allegations do not support an inference that

counsel’s performance was unreasonable, and no reasonable probability exists that

he would have received a lesser sentence if counsel had objected. Neither prong of

the Strickland test has been met. This claim is denied.




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      C. Leader/Organizer

      Among other things, a four-level enhancement under U.S.S.G. § 3B1.1(c) is

appropriate where “the defendant [has] the necessary influence and ability to

coordinate the behavior of others so as to achieve the desired criminal result.”

United States v. Doe, 778 F.3d 814, 826 (9th Cir. 2015). As briefly set forth

above, Rodriguez gave directions to others. Moreover, although counsel objected

both before and at sentencing, see Sentencing Mem. (Doc. 754) at 6; Sentencing

Tr. at 6:15-25, 25:11-29:18, the Court overruled the objection. Neither prong of

the Strickland test has been met. This claim, see, e.g., Mot. § 2255 at 4 Ground

One, 5 Ground Two; Mem. at 15-16, is denied.

      D. Firearms Enhancement

      At the change of plea hearing, Rodriguez admitted that he “recruited people

in Montana to purchase firearms . . . because . . . other co-conspirators were

prohibited from purchasing and possessing firearms.” Change of Plea Tr. (Doc.

778) at 42:9-14. Sufficient evidence exists to establish the predicate offense for

Count 14 and to support a two-level enhancement for possession of a firearm under

U.S.S.G. § 2D1.1(b)(1). See also Presentence Report ¶¶ 20, 22, 26, 27, 56, 58

(describing co-conspirators’ possession of firearms in furtherance of drug

trafficking); U.S.S.G. §§ 1B1.3(a)(1)(B), 2D1.1 Application Note 11 (2016).

      Neither prong of the Strickland test has been met. This claim, Mot. § 2255

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at 4 Ground One, 5 Ground Two, 7 Ground Three; Mem. at 19-20, 22-24, is

denied.

      E. Amendment of Role Adjustment Guideline

      On November 1, 2015, the Sentencing Commission amended the

commentary to U.S.S.G. § 3B1.2 to broaden the circumstances supporting a

downward adjustment for a defendant who plays a minor role in the offense. See

U.S.S.G. § 3B1.2 Application Note 3 (Nov. 1, 2015). Rodriguez asks the Court to

reconsider his sentence under the new commentary with a minor role reduction.

The amendment was enacted after Rodriguez was sentenced. He nevertheless

would be entitled to its application, if warranted, because his case was pending on

direct appeal until April 2016. See United States v. Quintero-Leyva, 823 F.3d 519,

523 (9th Cir. 2016).

      The evidence established that Rodriguez occupied a leader or organizer role

as contemplated by the sentencing commission. Even if he were not designated a

leader or organizer, he identifies no evidence to support a reduction of his offense

level on the grounds that he played a minor or mitigating role. Counsel provided

no ineffective assistance for failing to seek a remand on appeal when the evidence

does not support a role reduction. See, e.g., Juan H. v. Allen, 408 F.3d 1262, 1273

(9th Cir. 2005). Neither prong of the Strickland test has been met. This claim, see

Supp. (Doc. 822) at 1, is denied.

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                          IV. Certificate of Appealability

      “The district court must issue or deny a certificate of appealability when it

enters a final order adverse to the applicant.” Rule 11(a), Rules Governing § 2255

Proceedings. A COA should issue as to those claims on which the petitioner

makes “a substantial showing of the denial of a constitutional right.” 28 U.S.C. §

2253(c)(2). The standard is satisfied if “jurists of reason could disagree with the

district court’s resolution of [the] constitutional claims” or “conclude the issues

presented are adequate to deserve encouragement to proceed further.” Miller-El v.

Cockrell, 537 U.S. 322, 327 (2003) (citing Slack v. McDaniel, 529 U.S. 473, 484

(2000)).

      The Confrontation Clause does not apply. The enhancements applied in his

advisory guideline calculations, including those for leader/organizer role and

possession of firearms, were supported by sufficient evidence. No reason exists to

suppose that he could have obtained a reduction in his offense level under the

revised U.S.S.G. § 3B1.2. Reasonable jurists would find no reason to encourage

further proceedings. A COA is not warranted on any issue.

      Accordingly, IT IS HEREBY ORDERED as follows:

      1. Rodriguez’s motion to vacate, set aside, or correct the sentence under 28

U.S.C. § 2255 (Docs. 815, 816, 822) is DENIED for lack of merit.

      2. A certificate of appealability is DENIED. The clerk shall immediately

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process the appeal if Rodriguez files a notice of appeal.

      3. The clerk shall ensure that all pending motions in this case and in CV 16-

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favor of the United States and against Rodriguez.

      DATED this 15th day of December, 2016.




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